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Fill in this information to identify your case: 

United States Bankruptcy Court for the:

Southern District of Illinois

Case number (If known):                                    Chapter    11
                                                                                                                                Check if this is an
                                                                                                                                     amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor’s name                             LPB MHC LLC


2.    All other names debtor used in the
                                                dba Sam C. Mitchell & Associates
      last 8 years
      Include any assumed names, trade
      names, and doing business as names




3.    Debtor’s federal Employer
      Identification Number (EIN)               XX-XXXXXXX


4.    Debtor’s address                          Principal place of business                          Mailing address, if different from principal
                                                                                                     place of business

                                                115 E. Main St.
                                                Number      Street                                   Number        Street


                                                West Frankfort             IL    62896
                                                City                       State Zip Code            City                   State Zip Code

                                                                                                     Location of principal assets, if different
                                                                                                     from principal place of business

                                                FRANKLIN
                                                County                                               Number                 Street



                                                                                                     City                   State Zip Code



5.    Debtor’s website (URL)




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Debtor       LPB MHC LLC                                                                       Case number (if known)
             Name


6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:


7.   Describe debtor’s business:           A. Check one:
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               Railroad (as defined in 11 U.S.C. § 101(44))
                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               None of the above


                                           B. Check all that apply:
                                               Tax-exempt entity (as described in 26 U.S.C. § 501)
                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                80a-3)
                                               Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                           C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .




8.   Under which chapter of the            Check one:
     Bankruptcy Code is the debtor
                                               Chapter 7
     filing?
                                               Chapter 9
                                               Chapter 11. Check all that apply:
                                                                     Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                      insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                      4/01/25 and every 3 years after that).
                                                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                      debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                      of operations, cash-flow statement, and federal income tax return or if all of these
                                                                      documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                      chooses to proceed under Subchapter V of Chapter 11.
                                                                     A plan is being filed with this petition.
                                                                     Acceptances of the plan were solicited prepetition from one or more classes of
                                                                      creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                     The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                      Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                      Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                      Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                     The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                      Rule 12b-2.
                                               Chapter 12




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Debtor        LPB MHC LLC                                                                         Case number (if known)
              Name


9.    Were prior bankruptcy cases filed              No
      by or against the debtor within the
      last 8 years?                                  Yes. District                                   When                      Case number
                                                                                                              MM/DD/YYYY
      If more than 2 cases, attach a
      separate list.                                         District                                 When                      Case number
                                                                                                              MM/DD/YYYY



10.   Are any bankruptcy cases pending               No
      or being filed by a business partner
                                                     Yes. Debtor                                                    Relationship
      or an affiliate of the debtor?
      List all cases. If more than 1, attach a               District                                                When
                                                                                                                                       MM/DD/YYYY
      separate list.

                                                             Case number, if known


11.   Why is the case filed in this              Check all that apply:
      district?
                                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                      days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                                      any other district.
                                                     A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                      district.


12.   Does the debtor own or have                    No
      possession of any real property or
      personal property that needs                   Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                                 Why does the property need immediate attention? (Check all that apply.)
                                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health
                                                                 or safety.
                                                                 What is the hazard?
                                                                It needs to be physically secured or protected from the weather.
                                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                 attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                                 related assets or other options).
                                                                Other



                                                            Where is the property?
                                                                                           Number                     Street




                                                                                           City                                State       ZIP Code


                                                           Is the property insured?
                                                                No
                                                                Yes. Insurance agency

                                                                         Contact name

                                                                         Phone




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Debtor        LPB MHC LLC                                                                       Case number (if known)
              Name



            Statistical and administrative information

13.   Debtor’s estimation of available         Check one:
      funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                     creditors.


14.   Estimated number of creditors                 1-49                                  1,000-5,000                         25,001-50,000
                                                    50-99                                 5,001-10,000                        50,001-100,000
                                                    100-199                               10,001-25,000                       More than 100,000
                                                    200-999


15.   Estimated assets                              $0-$50,000                            $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                      $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                     $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                   $100,000,001-$500 million           More than $50 billion


16.   Estimated liabilities                         $0-$50,000                            $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                      $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                     $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                   $100,000,001-$500 million           More than $50 billion




            Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
      authorized representative of debtor            in this petition.
                                                     I have been authorized to file this petition on behalf of the debtor.
                                                     I have examined the information in this petition and have a reasonable belief that the information is
                                                     true and correct.


                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on      11/5/2024
                                                                      MM / DD / YYYY


                                                 /s/ Lance P Brown
                                                  Signature of authorized representative of debtor
                                                                                                           Lance P Brown
                                                                                                           Printed name


                                                     Title    Managing Member




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Debtor       LPB MHC LLC                                                            Case number (if known)
             Name



18.   Signature of attorney
                                             /s/ Robert Eggmann
                                              Signature of attorney for debtor
                                                                                               Date
                                                                                                         MM / DD / YYYY



                                                Robert Eggmann
                                                Printed name

                                                Robert Eggmann
                                                Firm name


                                                Number          Street


                                                City                                             State           ZIP Code


                                                                                                 ree@carmodymacdonald.com
                                                Contact Phone                                    Email address



                                                6203021                                          Illinois
                                                Bar number                                       State




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    Fill in this information to identify your case: 

    Debtor Name      LPB MHC LLC

    United States Bankruptcy Court for the: Southern District of Illinois                                                              Check if this is an
                                                                                                                                          amended filing
    Case number (If known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15
    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
    creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured
    claims.



Name of creditor and complete              Name, telephone           Nature of the claim   Indicate if       Amount of unsecured claim
mailing address, including zip code        number, and email         (for example, trade   claim is
                                           address of creditor       debts, bank loans,    contingent,       If the claim is fully unsecured, fill in only unsecured
                                           contact                   professional          unliquidated,     claim amount. If claim is partially secured, fill in total
                                                                     services, and         or disputed       claim amount and deduction for value of collateral or
                                                                     government                              setoff to calculate unsecured claim.
                                                                     contracts)


                                                                                                             Total claim, if     Deduction for        Unsecured
                                                                                                             partially           value of             claim
                                                                                                             secured             collateral or
                                                                                                                                 setoff

1    Brandon Zanotti                       Brandon Zanotti                                                                                              $275,000.00
     14677 Cornith Rd.                     () -                                            Disputed
     Marion, IL 62959




    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 1 of 1
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                                                United States Bankruptcy Court
                                                     Southern District of Illinois
In re   LPB MHC LLC                                                      Case No.
                                                  Debtor(s)              Chapter      11




                               VERIFICATION OF CREDITOR MATRIX

The above-named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date:     11/5/2024                                                          /s/ Lance P Brown
                                                                             Lance P Brown
                                                                             Signature of Debtor




                                                                Creditor Matrix                                       page 1 of 6
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                                                4SIWI
                                                3307 W. Commercial Rd
                                                Marion, IL 62959



                                                Ameren Illinois
                                                PO Box 88034
                                                Chicago, IL 60680-1034



                                                American Express
                                                PO Box 6031
                                                Carol Stream, IL 60197



                                                Arthur Agency
                                                104 E. Jackson
                                                Carbondale, IL 62901



                                                Atlas Certified Payroll Inc.
                                                3020 W Market St
                                                Fairlawn, OH 44333



                                                Betty Caraway
                                                910 N Jefferson Street
                                                West Frankfort, IL 62896



                                                Blue Cross Blue Shield of Illinois
                                                PO Box 650615
                                                Dallas, TX 75265-0615



                                                Brandon Zanotti
                                                14677 Cornith Rd.
                                                Marion, IL 62959



                                                Cara E. Derry
                                                1206 Stonington Dr
                                                Herrin, IL 62948




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                                                Case Status
                                                1019 E Montague Ave North
                                                North Charleston, SC 29405



                                                Cheryl A. Tindall-Borcky
                                                1106 E Main St
                                                Benton, IL 62812



                                                Citi Business Card
                                                PO Box 71820
                                                PHILADELPHIA, PA 19176-1820



                                                Clearwave Communications
                                                PO Box 808
                                                Harrisburg, IL 62946



                                                Courtney A. Malone
                                                22588 Corinth Road
                                                Thompsonville, IL 62890



                                                Dawn Gabel
                                                2901 Oak Avenue
                                                Mattoon, IL 61938



                                                Dish Cable
                                                9601 S. Meridian Blvd
                                                Englewood, CO 80112



                                                Farmers State Bank of Alto Pass
                                                Marion West Office
                                                2806 Outer Drive
                                                Marion, IL 62959



                                                Filevine
                                                1260 E Stringham Ave
                                                Salt Lake City, UT 84106




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                                                First Southern Bank
                                                P.O. Box 580
                                                102 Airway Dr.
                                                Marion, IL 62959



                                                Google Suite
                                                1600 Amphitheatre Pkwy
                                                Mountain View, CA 94043



                                                Hibu
                                                PO Box 660052
                                                Dallas, TX 75266-0052



                                                Illinois Department of Revenue
                                                BK Unit Level 7-425
                                                100 Randolph St.
                                                Chicago, IL 60601



                                                Internal Revenue Service
                                                P.O. Box 7346
                                                Philadelphia, PA 19101-7346



                                                Jacqueline R. Parrish
                                                220 S. Fly Avenue
                                                Goreville, IL 62939



                                                Konica Minolta Premier Finance
                                                PO Box 105743
                                                Atlanta, GA 30348-5743



                                                LexisNexis Risk Solutions
                                                28330 Network Place
                                                Chicago, IL 60673-1283




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                                                Mountain Valley Water
                                                PO Box 1531
                                                Mount Vernon, IL 62864



                                                Northwestern Mutual
                                                720 East Wisconsin Ave
                                                Milwaukee, WI 53202



                                                Pearl Insurance
                                                PO Box 3930
                                                Peoria, IL 61612-3930



                                                Phillip G. Palmer
                                                1405 N. Magnolia Drive
                                                Marion, IL 62959



                                                Pitney Bowes
                                                PO Box 981022
                                                Boston, MA 02298-1022



                                                Quadient Leasing USA Inc.
                                                478 Wheelers Farms Rd.
                                                Milford, CT 06461



                                                Republic Services
                                                PO Box 9001099
                                                Louisville, KY 40290



                                                Robert C. Wilson
                                                Attorney for Farmers State Bank of Alto Pass
                                                The Law Office of Robert C. Wilson
                                                P.O. Box 544
                                                Harrisburg, IL 62946




                                                            Creditor Matrix                        page 5 of 6
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                                                Royal Cleaning Services
                                                4474 Old Rt 13
                                                Carterville, IL 62918



                                                Sam Mitchell
                                                PO Box 70
                                                West Frankfort, IL 62896



                                                SI Maintenance
                                                PO Box 774
                                                Benton, IL 62812



                                                State Farm
                                                PO Box 2915
                                                Bloomington, IL 61702



                                                State Farm
                                                PO Box 52251
                                                Phoenix, AZ 85072



                                                West Frankfort Water Dept.
                                                605 N. Main St.
                                                West Frankfort, IL 62896



                                                West Law
                                                610 Opperman Drive
                                                Eagan, MN 55123-1396



                                                Zoom Phones
                                                55 Almaden Blvd
                                                San Jose, CA 95113




                                                            Creditor Matrix                         page 6 of 6
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